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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                                CIVIL ACTION

VERSUS                                                                  NO. 19-13425

ADMINISTRATORS OF THE TULANE                                            SECTION “D” (2)
EDUCATIONAL FUND

                          DEPOSITIONS ORDER AND REASONS

          The parties have substantially agreed upon and the court has approved a plan for

expedited discovery concerning the January 8, 2020, preliminary injunction hearing in this

matter. Record Doc. Nos. 14, 17, 19. Four issues concerning depositions to be completed in

December 2019 remain to be resolved. In light of the time constraints necessitated by the

circumstances, the court directed the parties to forego ordinary motion practice and to brief

the unresolved issues for expedited determination. They have now done so. Record Doc. Nos.

22, 24.

          The four remaining issues involve plaintiff’s request to exceed by a single deposition1

the 10–deposition limit set in Fed. R. Civ. P. 30(a)(2)(A)(i); and defendant’s requests to (1)

prohibit plaintiff from deposing non-party Tulane students, except for the complainant

against plaintiff; (2) limit the scope of plaintiff’s questioning of the complainant; and (3)

limit the scope of all deposition questioning; specifically, by prohibiting questions related

to plaintiff’s “allegations . . . of false statements, conducting an independent investigation,

and attacks on credibility which indicate an intent to re-try the student conduct investigation”

          1
          In initial discussions to plan this discovery, plaintiff indicated a desire to take twelve (12)
depositions. He has now reduced this request by one to eleven (11) depositions. Record Doc. No.
24 at p. 1.
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at the center of plaintiff’s claims. Record Doc. No. 22 at p. 1. For the following reasons,

plaintiff’s request to take eleven (11) depositions is GRANTED, and defendant’s requests

are DENIED. The limit for depositions in advance of the preliminary injunction hearing is

eleven (11) per side, and the limits on the scope of deposition examination of the type sought

by defendant will not be imposed.

       As to the deposition limit, Fed. R. Civ. P. 30(a)(2) provides: “A party must obtain

leave of court, and the court must grant leave to the extent consistent with Rule 26(b)(1) and

(2): . . . (A) if the parties have not stipulated to the deposition and: (i) the deposition would

result in more than 10 depositions being taken under this rule” by either side. (Emphasis

added). In determining whether permitting additional depositions is consistent with Rule

26(b)(1), the court must consider whether the discovery is both relevant to any party’s

claims and defenses and proportional to the needs of the case. The proportionality component

of Rule 26(b)(1) requires that the court consider “the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to the information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden

and expense of the proposed discovery outweighs its likely benefit.” Significantly,

“[i]nformation within the scope of discovery need not be admissible in evidence to be

discoverable.” Fed. R. Civ. P. 26(b)(1)(emphasis added).

        In determining whether permitting the single additional deposition plaintiff seeks is

consistent with Rule 26(b)(2), the court must consider, in addition to the scope of discovery

set out above, whether “the discovery sought is unreasonably cumulative or duplicative, or


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can be obtained from some other source that is more convenient, less burdensome, or less

expensive;” and “the party seeking discovery has had ample opportunity to obtain the

information by discovery in the action; . . .” Fed. R. Civ. P. 26(b)(2)(C)(i) and (ii).

        Evaluating these factors insofar as they apply to the preliminary injunction hearing

militates in favor of permitting plaintiff to exceed the ten deposition limit by one for that

limited purpose at this time.2 Although the amount in controversy is unknown, the number

of witnesses already identified is not extensive. Defendant has superior access to the

information, and permitting the additional deposition will mitigate that advantage. The

parties’ resources appear approximately equal and sufficient to bear the time and expense of



        2
         Although plaintiff’s memorandum states that plaintiff seeks “to depose a total of eleven
people,” Record Doc. No. 24 at p. 1, I note that the parties’ Joint Discovery Plan, which the court
previously approved and adopted, lists potential deponents many more than the limit, by including
“[a]ny physician, psychologist, social worker, counselor or healthcare provider identified by Plaintiff
that he has consulted regarding the damages alleged in this suit.” Record Doc. No. 17 at p. 2,
¶1(a)(xi). The eleven depositions I permit at this time apply to discovery necessary for the
preliminary injunction hearing and any equitable relief that might be available, not for trial at which
the legal remedy of compensatory damages also sought by plaintiff, Record Doc. No. 1 (Complaint
at ¶’s 188–89, 200–01, 210–11, 215, 222–23), might later be awarded. A preliminary injunction is
an extraordinary equitable remedy that may be granted only if plaintiff clearly carries his burden of
establishing four essential elements: (1) a substantial likelihood of success on the merits; (2) a
substantial threat that he will suffer irreparable injury if the injunction is denied; (3) the threatened
injury outweighs any damage that the injunction might cause defendants; and (4) the injunction will
not disserve the public interest. Southern Co. v. Dauben Inc., 324 Fed. Appx. 309, 2009 WL
1011183, *4 (5th Cir. 2009) (citing Sugar Busters LLC v. Brennan, 177 F.3d 258, 265 (5th Cir.
1999). Part of the requisite showing is “a substantial threat of irreparable injury if the injunction is
not issued.” DSC Commc’ns Corp. v. OGI Techs., Inc., 81 F.3d 597, 600 (5th Cir. 1996) (emphasis
added). If plaintiff intends to establish the irreparable injury component of his burden through the
deposition testimony of any of the professionals identified above, he must include them in his eleven
allotted depositions at this time and exclude others. Of course, defendant may take the depositions
of any such witnesses within its separate allotted depositions. Whether plaintiff may be allowed
additional depositions beyond the deposition limit for the broader purposes of trial, including
awardable damages, is for later consideration.

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the single additional deposition. The issues at stake are important in terms of the current and

future academic status and aspirations of plaintiff, a proper evaluation and consideration of

the serious claim of the complainant, the adequacy and appropriateness of defendant’s

policies and practices and the public interest reflected in Title IX and the directives of the

United States Department of Education concerning it. See, e.g. Record Doc. No. 1 at pp.

11–12, ¶¶ 45–52, 76–79. The significant roles of the identified witnesses in connection with

plaintiff’s clearly asserted claims are either detailed in plaintiff’s complaint (Record Doc. No.

1, Dr. Zacharda, ¶ 23; M. Smith, ¶¶ 58–64; Lex Kelch-Brickner, ¶ 122; D. Broussard, ¶¶ 30,

130–36; complainant’s non-party Tulane student friends, ¶¶ 114-19) or obvious on the face

of their functions (defendant’s appeal panel members, plaintiff, complainant). I discern no

undue cumulation, duplication or other more convenient or less burdensome means or

opportunity by which plaintiff may obtain the information within the knowledge of these

witnesses. As discussed below and contrary to defendant’s arguments, their testimony is

uniformly relevant and important to resolution of the issues in the case. Balancing these

factors establishes that the single additional deposition over the limit is appropriate in this

case in connection with the preliminary injunction hearing.

       Defendant’s requests for limitations on the scope of questioning during the depositions

as a whole and complainant’s deposition testimony specifically, and to prohibit the

depositions of other non-party students, are in effect requests for a protective order pursuant

to Fed. R. Civ. P. 26(c)(1), which provides in pertinent part:




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       A party or any person from whom discovery is sought may move for a
       protective order . . . The court may, for good cause, issue an order to protect
       a party or person from annoyance, embarrassment, oppression, or undue
       burden or expense, including one or more of the following: (A)forbidding the
       . . . discovery; (B) specifying terms, . . . for the . . . discovery; [and] forbidding
       inquiry into certain matters, or limiting the scope of . . . discovery to certain
       matters; . . . .

(emphasis added). The requirement “of a showing of good cause to support the issuance of

a protective order indicates that ‘[t]he burden is upon the movant to show the necessity of its

issuance, which contemplates a particular and specific demonstration of fact as distinguished

from stereotyped and conclusory statements.’” In re Terra Int’l, Inc., 134 F.3d 302, 306 (5th

Cir. 1998) (quoting United States v. Garrett, 571 F.2d 1323, 1326 n.3 (5th Cir. 1978)); see

also United States v. Talco Contractors, Inc., 153 F.R.D. 501, 513 (W.D.N.Y. 1994) (“Good

cause must be established and not merely alleged.”).

       As to the limitations, defendant requests that this court restrict deposition questioning

to three topic areas, while precluding examination concerning eight broader categories of

inquiry. Record Doc. No. 22 at pp. 7–8. In support of its requests, defendant relies heavily

upon the decision of a federal trial court in Florida in Doe v. Lynn Univ., Inc., 2017 WL

275448 (S.D. Fla. Jan. 19, 2017). The Florida court conducted a painstaking pre-deposition

review of 120 proposed deposition questions, which a magistrate judge initially reduced to

15 permissible questions, with the reviewing district judge’s subsequent revision of what

could and could not be asked in affirming in part and reversing in part the magistrate judge’s

decision. Doe v. Lynn Univ., 2017 WL 275448, at *4, *6–*8. In addition, defendant seeks

to preclude altogether the depositions of any non-party Tulane University students, other than


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complainant herself. Record Doc. No. 22 at pp. 12–15. It argues that the students’ knowledge

is limited to the underlying incident itself and would not extend to the adequacy of the

University’s policies, procedures and administrative record concerning the incident.

       Essentially for two reasons, I find that defendant has failed to sustain its burden to

show good cause to support the protective order it seeks. First, the Florida decision is neither

Fifth Circuit precedent binding upon this court nor persuasive in any way. I find that

applying the Florida decision to the circumstances presented by the instant case would shrink

permissible discovery to a level far below what is permitted by Rule 26(b)(1) and

contemplated by a recent decision of the Fifth Circuit describing the essential elements of

plaintiff’s claims as to which plaintiff has the burden of proof. Adopting defendant’s

proposed examination restrictions and prohibition would unduly truncate plaintiff’s

opportunity through discovery to sustain the heavy burden he must bear at the preliminary

injunction hearing.

       One example from defendant’s memorandum, when measured against the Fifth

Circuit’s explanation of plaintiff’s claim, suffices to illustrate defendant’s unduly restrictive

view of what is relevant to the claims and defenses in this case and the threat to appropriate

discovery process posed by defendant’s proposed restrictions. Citing a federal district court

decision from Pennsylvania, defendant argues that deposition questioning should be

prohibited concerning plaintiff’s express claims and allegations asserted in his complaint and

his motion for injunctive relief




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       that refute [complainant] Roe’s claim and cast significant doubt on her
       credibility and that of at least one of Roe’s key witnesses . . . . [and]
       accuse[] non-party Complainant Jane Roe of providing ‘false and inconsistent
       statements’ during the investigation regarding the alleged events. . . . Such
       accusations by Plaintiff of ‘false and inconsistent statement ,’ as well as
       allegations by Plaintiff that he is conducting his own ‘independent
       investigation’ to identify witnesses who may have personal knowledge that
       ‘refute Roe’s claim and cast significant doubt on her credibility and that of
       at least one of Roe’s ley witnesses,’ are precisely the sort of discovery
       inquiries that are not relevant to the Title IX erroneous outcome claim at issue.

Record Doc. No. 22 at pp. 8–9 (underlined emphasis in original; bold face emphasis

added)(citing Saravanan v. Drexel Univ., 2017 WL 5659821, at *4 (E.D. Pa. Nov. 24,

2017)).

       Defendant‘s argument in this regard conflicts with the Fifth Circuit’s explanation of

these kinds of claims in its decision little more than two months ago in Klocke v. Univ. of

Texas at Arlington, 938 F.3d 204 (5th Cir. 2019). In Klocke, the Fifth Circuit agreed with

and adopted the “framework” enunciated by the Second Circuit in recognizing the kind of

“erroneous outcome” Title IX cause of action based on gender bias that plaintiff asserts in

this case. Id. at 210.

       Significantly, in describing the plaintiff’s burden of proof, the Fifth Circuit stated, “A

plaintiff alleging an erroneous outcome claim must point to ‘particular facts sufficient to cast

some articulable doubt on the accuracy of the outcome of the disciplinary proceeding’ – for

instance, ‘a motive to lie on the part of a complainant or witnesses, [or] particularized

strengths of the [disciplined student’s] defense.’ If no such doubt exists based on the record

before the disciplinary tribunal, the claim must fail. The plaintiff must also demonstrate a



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‘causal connection between the flawed outcome and gender bias.” Id. (bold face emphasis

added; underlined emphasis in original).

       As strictly a pleading matter, the detailed allegations about the record before the

University’s disciplinary tribunal contained in the complaint are sufficient to cast doubt on

the outcome of the University proceedings. Beyond mere pleading, however, defendant’s

request to restrict and/or prohibit the deposition testimony in this case, particularly of the

complainant and the single other non-party student whom plaintiff seeks to depose, would

preclude discovery of facts, if any exist, necessary to prove a motive to lie on the part of

complainant or other witnesses against plaintiff in the University’s proceedings, which

appear to be a particular strength of plaintiff’s defense to the underlying charge. The

Klocke decision establishes that a complainant’s motive to lie as a particular strength of the

disciplined student’s case is relevant.

       Second, adopting the pre-deposition screening approach undertaken by the Florida

court, even in the less comprehensive way proposed by defendant, would undermine both the

fundamental purpose of discovery and the structure of Fed. R. Civ. P. 30(c)(2), which

governs the manner in which depositions are to be conducted. Defendant’s arguments in

support of its overreaching requests to prohibit some depositions altogether and to limit the

topics as to which other deposition examination might occur amount to little more than an

objection that plaintiff may inquire into irrelevant areas during the depositions. Apart from

the fact that defendant’s views about what is relevant are more restrictive than the Fifth

Circuit precedent quoted above contemplates, discovery depositions are designed to proceed


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pursuant to Fed. R. Civ. P. 30(c)(2), which provides: “An objection at the time of the

examination – whether to evidence . . . or to any other aspect of the deposition – must be

noted on the record, but the examination still proceeds; the testimony is subject to the

objection.” The kind of pre-deposition micro-management of questioning sought by

defendant and sanctioned by the Florida court decision it relies upon undermines this rule and

unduly truncates permissible discovery.

       Defendant’s concern that permitting these depositions without the restrictions it seeks

will impermissibly “‘retry the University’s disciplinary proceeding,’” Record Doc. No. 22

at p. 4, is misplaced in the discovery context. Discovery depositions are neither trial nor

preliminary injunction hearing. They occur for all purposes permitted by the Federal Rules,

perhaps most importantly for “ascertaining the facts, or information as to the existence or

whereabout of facts, relative to [the] issues . . . . before trial,” Hickman v. Taylor, 329 U.S.

495, 500 (1947)(emphasis added), “with the basic issues and facts disclosed to the fullest

practicable extent.” United States v. Proctor & Gamble Co., 356 U.S. 677, 682–83 (1958).

As noted above and consistently with these basic purposes of discovery, “[i]nformation

within [the permissible] scope of discovery need not be admissible in evidence to be

discoverable.” Fed. R. Civ. P. 26(b)(1). Permitting these depositions to proceed as

contemplated by Fed. R. Civ. P. 30(c)(2), without the restrictions and prohibitions sought by

defendant, will enable defendant to preserve its objections and prevent retrial of its

disciplinary proceedings if its objections are sustained at the preliminary injunction hearing




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or trial, without depriving plaintiff of the opportunity the depositions provide to obtain proof

sufficient to sustain his daunting burden.

       For all of the foregoing reasons, each side is permitted eleven (11) depositions in

preparation for the preliminary injunction hearing,3 and the restrictions on questioning

proposed by defendant are not imposed.

                                                             22d
                       New Orleans, Louisiana, this _________ day of November, 2019.



                                                      JOSEPH C. WILKINSON, JR.
                                                  UNITED STATES MAGISTRATE JUDGE
CLERK TO NOTIFY:
HON. WENDY B. VITTER




       3
         At the conclusion of its memorandum concerning these issues, plaintiff “requests that the
Court order Tulane to produce a copy of the student disciplinary file with the names of the student
witnesses so that he can determine if any other student witnesses should be deposed or called to trial
in this matter.” Record Doc. No. 24 at pp. 13-14. I decline to do so at this time, finding the eleven
depositions permitted to each side sufficient for purposes of the preliminary injunction hearing. In
planning and scheduling their expedited discovery for the preliminary injunction hearing, the parties
declined my suggestion that they agree upon the exchange of enhanced disclosures, opting instead
to undertake formal written discovery. Plaintiff’s request will be determined on a motion to compel,
if necessary. However, given the time constraints faced both by the parties and the court, imposed
because of the parties’ desire to resolve the injunction motion before commencement of defendant’s
next semester of classes, any such motion will not prompt further expansion of the depositions limit,
at least not for the preliminary injunction hearing. If plaintiff seeks to reserve one or more his
allotted eleven pre-injunction hearing depositions to obtain the speculative testimony of a student
whose identity he presently does not know, he must eliminate a similar number of his currently
planned depositions.

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